Case 1:21-cr-00222-TFH Document 18-7 Filed 04/20/21 Page 1 of 1

April 8th, 2021
To Whom It May Cancer, -

| am writing this letter on behalf of my older brother, Jullan Khater, whom | have known for my
entire life. Julian was always a funny, loving and caring older brother to me. He was always
there when | needed him, and had my back through all of the ups and downs | have been
through. Julian is a very friendly person and is always looking to crack jokes, go to events, and
have a gcod fime with his friends and family. | know my brother is not capable of intentionally
harming anyone or being a part of any type of violence whatsoever. All of his friends, farnily, and
co-workers can attest to his joking and kind-hearted nature.

 

When | heard of my brother's arrest | was in absclute shock, and the allegations made against
him and the emear stories circulating of him in the media are an absolute misrepresentation of
him and his character, My brother does have his beliefs and opinions, but would never take part
In violent actions in order to voice his opinions. These stories and allegations truly do not
represent my brother, our family, or his character at all.

ff you would like any further information, please do not hesitate te reach out to any of us, that is,
his friends and family. _

Sincerely,

| Christopher Khater

 

 
